                       IN IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION

 IN RE:                                             )        Case No.: 18-03512
                                                    )
 GREGORY KENT QUINN,                                )        Chapter 11
               DEBTOR.                              )        Judge Harrison


                      ORDER AFTER HEARING ON U.S. TRUSTEE’S MOTION
                                      TO DISMISS

       The U.S. Trustee’s Motion to Dismiss under Section 112(b) (Docket Entry 93), Cascade Mortgage

 Funding’s Joinder (Docket Entry 98) and Debtor’s Response (Docket Entry 97) came before the Court for

 hearing on December 10, 2019, after numerous continuances. After hearing and considering all the evidence,

 the Court rules as set for below.

          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:

          1.      Cause exists for dismissal of Debtor’s case pursuant to 11 U.S.C. § 1112(b).

          2.      However, the U.S. Trustee’s Motion to Dismiss shall not be granted unless Debtor fails to file

 an affidavit stating that he is current on all payments due under the Plan. Payments due under Plan includes (a)

 the $150,000 payment due to creditor Cascade Mortgage Funding on the Effective Date, (b) all administrative

 expenses payable on the Effective Date, and (c) any other monthly payments due as of December 10, 2019.

          2.      Debtor’s failure to comply with the provisions in paragraph 1 above shall entitle the U.S.

 Trustee to file a Notice of Noncompliance and submit an Order of Dismissal that shall automatically dismiss

 the case pursuant to 11 U.S.C. § 1112(b), without further notice or hearing by the Court.


               THIS ORDER WAS SIGNED AND ENTERED ELECTRONICALLY
                     AS INDICATED AT THE TOP OF THE FIRST PAGE




Case 3:18-bk-03512          Doc 101       Filed 12/10/19 Entered 12/10/19 14:22:53                  Desc Main
                                         Document      Page 1 of 2
 SUBMITTED FOR ENTRY:

 PAUL RANDOLPH,
 ACTING UNITED STATES TRUSTEE, REGION 8

 /s/ Megan Seliber
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Case 3:18-bk-03512      Doc 101    Filed 12/10/19 Entered 12/10/19 14:22:53   Desc Main
                                  Document      Page 2 of 2
